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                                                                   Tuesday, 07 December, 2021 03:36:10        PM
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                                                                               Clerk, U.S. District
                                                                                                 PaulCourt, ILCD
                                                                                                      Palazzolo
                                                                                              7th Judicial Circuit
                                                                                           Sangamon County, IL
STATE OF ILLINOIS                 ~)
                                  ) SS.
COUNTY OF SANGAMON)
             IN THE CIRCUIT COURT OF THE SEVENTH JUDICIAL CIRCUIT
                           SANGAMON COUNTY, ILLINOIS

  LESLIE STEPHENS,
                        eae                                                 2021L 000180
                    Plaintiff,                                  Court #

                         versus


  OUTBACK STEAKHOUSE OF                     FLORIDA,    LLC
  and BLOOMIN’ BRANDS, INC.,

                    Defendant.

                                          COMPLAINT AT LAW

       NOW      COMES      the Plaintiff, LESLIE   STEPHENS,    by and through her attorneys, THE

LAW OFFICES OF STEVEN J. MALMAN & ASSOCIATES, P.C., and complaining of the

Defendants, OUTBACK STEAKHOUSE OF FLORIDA, LLC and BLOOMIN’ BRANDS,

INC., states as follows:

                                                   COUNT 1
                              (Negligence v. Outback Steakhouse of Florida, LLC)

        I.        That on or about February 17, 2020, Plaintiff, LESLIE STEPHENS, was a patron

and/or invitee of an establishment commonly          known    as OUTBACK      STEAKHOUSE        OF

FLORIDA, LLC., located at 2590 Wabash Avenue, Springfield, Illinois, and as a patron and/or

an invitee at said establishment, was lawfully and properly on and upon said premises.

        2.        That Defendant, OUTBACK          STEAKHOUSE      OF FLORIDA, LLC., owned,

operated, managed, maintained and controlled the above-mentioned property and premises at all

times relevant.




                                                                                           Exhibit A
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       3.      That      at    all   time   relevant,   Defendant,     OUTBACK             STEAKHOUSE             OF

FLORIDA, LLC, was under a duty to own, operate, manage, maintain and control the property

and premises, including the floors, in an ordinary and reasonable fashion.

       4,      That     notwithstanding        the   above   stated   duties,     the    Defendant,    OUTBACK

STEAKHOUSE OF FLORIDA, LLC, was guilty of one or more of the following careless and

negligent acts or omissions:

               a.     Permitted and allowed said property and premises, and in particular the
                      floors of the above property and premises, to be and remain in a
                      hazardous and unsafe condition thereby resulting in plaintiff’s injuries;

                      Failed    to properly maintain its floors, such that it allowed a condition
                      where     a wet and greasy substance remained on the floor, the grease
                      being    a hazard to patrons and/or invitees of said property and premises
                      when     the Defendant knew or should have known of the condition;

                      Failed to maintain necessary and proper                   safety   standards    in the
                      operation of said property and premises;

                      Failed to inaugurate and maintain necessary and proper maintenance
                      standards in the operation of said property and premises;

                      Failed to inspect its floors for any dangerous and hazardous conditions
                      at said property and premises;

                      Failed to rope off the area and/or warn its patrons and/or invitees,
                      including the Plaintiff, of the dangerous and hazardous condition of the
                      floors at said property and premises;

                      Failed to provide a safe means of ingress and egress to and from its
                      floors for its patrons and/or invitees such as Plaintiff lawfully and
                      properly on and upon said property and premises; and/or

                      Caused an unreasonably dangerous condition to exist on its property by
                      and through the acts of its agents and/or employees such that they
                      created a wet and greasy substance and placed them on the floors of the
                      aforementioned premises.

        5.      That the Defendant and/or its representatives had actual and/or constructive notice

of all of the preceding conditions.




                                                                                                               Exhibit A
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       6.      That as a direct and proximate result of one or more of the above-mentioned

careless and negligent acts or omissions of the Defendant, OUTBACK               STEAKHOUSE        OF

FLORIDA,     LLC, the Plaintiff, LESLIE     STEPHENS, was caused to and did fall due to a wet

and greasy substance on the floor of the establishment, resulting in the Plaintiff sustaining serious

and permanent injuries.    Plaintiff has suffered and will be suffering the future great pain and

discomfort, physical impairment and has been and will be kept from attending to her usual affairs

and duties and has lost and will continue to lose great gains which she would have made and

acquired and Plaintiff has become liable for large sums of money for medical care and will in the

future become so liable.

        WHEREFORE, the Plaintiff, LESLIE STEPHENS, by and through her attorneys, THE

LAW    OFFICES OF STEVEN J. MALMAN                 & ASSOCIATES, P.C seeks compensation in

excess of FIFTY THOUSAND DOLLARS ($50,000.00) for the harms caused by the Defendant,

OUTBACK STEAKHOUSE OF FLORIDA, LLC, for Defendant’s egregious conduct, to deter

this Defendant from negligent acts, and to protect the public safety, and for attorneys’ fees as

allowed by statute.

                                            COUNT IT
                               (Negligence v. Bloomin’ Brands, Inc.)

        1.      That on or about February 17, 2020, Plaintiff, LESLIE STEPHENS, was a patron

and/or invitee of an establishment commonly         known    as OUTBACK          STEAKHOUSE        OF

FLORIDA, LLC., located at 2590 Wabash Avenue, Springfield, Illinois, and as a patron and/or

an invitee at said establishment, was lawfully and properly on and upon said premises.

        2.      That   Defendant,   BLOOMIN’       BRANDS,      INC.,   owned,    operated,   managed,

maintained and controlled the above-mentioned property and premises at all times relevant.




                                                                                               Exhibit A
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       3.      That at all time relevant, Defendant, BLOOMIN’                  BRANDS,        INC., was under a

duty to own, operate, manage, maintain and control the property and premises, including the floors,

in an ordinary and reasonable fashion.

       4,      That     notwithstanding      the   above   stated   duties,     the    Defendant,   BLOOMIN’

BRANDS,      INC., was guilty of one or more of the following careless and negligent acts or

omissions:

               a.     Permitted and allowed said property and premises, and in particular the
                      floors of the above property and premises, to be and remain in a
                      hazardous and unsafe condition thereby resulting in plaintiff’s injuries;

               b.     Failed    to properly maintain its floors, such that it allowed a condition
                      where     a wet and greasy substance remained on the floor, the grease
                      being    a hazard to patrons and/or invitees of said property and premises
                      when     the Defendant knew or should have known of the condition;

               c.     Failed to maintain necessary and proper                 safety    standards   in the
                      operation of said property and premises;

                d.    Failed to inaugurate and maintain necessary and proper maintenance
                      standards in the operation of said property and premises;

                e.    Failed to inspect its floors for any dangerous and hazardous conditions
                      at said property and premises;

                f.    Failed to rope off the area and/or warn its patrons and/or invitees,
                      including the Plaintiff, of the dangerous and hazardous condition of the
                      floors at said property and premises;

                g.    Failed to provide a safe means of ingress and egress to and from its
                      floors for its patrons and/or invitees such as Plaintiff lawfully and
                      properly on and upon said property and premises; and/or

                h.    Caused an unreasonably dangerous condition to exist on its property by
                      and through the acts of its agents and/or employees such that they
                      created a wet and greasy substance and placed them on the floors of the
                      aforementioned premises.

        5.      That the Defendant and/or its representatives had actual and/or constructive notice

of all of the preceding conditions.




                                                                                                             Exhibit A
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       6.      That as a direct and proximate result of one or more of the above-mentioned

careless and negligent acts or omissions of the Defendant, BLOOMIN’            BRANDS,      INC., the

Plaintiff, LESLIE STEPHENS, was caused to and did fall due to a wet and greasy substance on

the floor of the establishment, resulting in the Plaintiff sustaining serious and permanent injuries.

Plaintiff has suffered and will be suffering the future great pain and discomfort,            physical

impairment and has been and will be kept from attending to her usual affairs and duties and has

lost and will continue to lose great gains which she would have made and acquired and Plaintiff

has become liable for large sums of money for medical care and will in the future become so liable.

        WHEREFORE, the Plaintiff, LESLIE STEPHENS, by and through her attorneys, THE

LAW    OFFICES     OF STEVEN       J. MALMAN       & ASSOCIATES,         P.C seeks compensation in

excess of FIFTY THOUSAND DOLLARS ($50,000.00) for the harms caused by the Defendant,

BLOOMIN’      BRANDS, INC., for Defendant’s egregious conduct, to deter this Defendant from

negligent acts, and to protect the public safety, and for attorneys’ fees as allowed by statute.




                                       LAW OFFICES OF STEVEN J. MALMAN
                                       & ASSOCIATES, P.C.


                                       /s/ James McCarron
                                       Attorney for Plaintiff


James McCarron
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& ASSOCIATES, P.C.
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                                                                                           Sangamon County, IL
STATE OF ILLINOIS                     )
                                      ) SS.
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                IN THE CIRCUIT COURT OF THE SEVENTH JUDICIAL CIRCUIT
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  LESLIE STEPHENS,

                       Plaintiff,                                    Court 2021L 000180
                            versus


  OUTBACK STEAKHOUSE OF                       FLORIDA,       LLC
  and BLOOMIN’ BRANDS, INC,,

                       Defendant.

                                               AFFIDAVIT

           I, James McCarron, having come to be sworn duly under oath, hereby state and affirm as
follows:

           1.      That I am the attorney for the plaintiff in this matter.

      2.     That based upon my investigation and knowledge of this case plaintiff is seeking
money damages in excess of $50,000.00, further affiant sayeth not.


                                                   LAW OFFICES OF STEVEN J. MALMAN
                                                   & ASSOCIATES, P.C.


                                                   /s/   James McCarron
                                                   Attorney for Plaintiff

SUBSCRIBED AND SWORN TO
before me this 27th day
of October, 2021.


/s/ Raquel Renteria
Notary Public



  NOTARY PUBLIC - STATE OF ILLINOIS
   SAY COMMESSION EXPIRESO7/5/23
 aaa     PP Pe.         PAP
       NNR             TRINNY




                                                                                           Exhibit A
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                                                             Exhibit A
